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FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH 13 PH 5: 37
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04~203lO-Ma

VS.

MAJOR GRUBBS,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense
Counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case and to allow for
the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.mi, with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period fronl May' 3l, 2005 through July l5, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3l6l(h)(l}(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

/LJ¥\

IT IS SO ORDERED this day Of June, 2005.

J%(//M/z,_`

`_ ` L_ g ~ SAMUEL H. MAYS, JR.
VmsdmmmansmsmdoanCUN@Hme& ’ J`f UNITED STATES DISTRICT JUDGE
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This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-203]0 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

